    Case 16-00968-TLM            Doc 45 Filed 11/18/16 Entered 11/18/16 14:32:56                   Desc Order
                                   Disallowing Claim of Exe Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF IDAHO


In Re:                                                     )
                                                           )
Christopher M Chesnut                                      )    Case Number:      16−00968−TLM
dba CC Electric                                            )
5305 W. Demison Ct.                                        )    Chapter Number: 7
Eagle, ID 83616                                            )
                                                           )
Social Security No.: xxx−xx−8213                           )
Employer's Tax I.D. No.:                                   )
                                                           )
                        Debtor                             )

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                            ORDER DISALLOWING CLAIM(S) OF EXEMPTION


 The trustee in this case requested the Court not allow certain exemptions claimed by the debtor pursuant to 11 U.S.C.
Section 522. Notice of the trustees request was sent to the debtor and a request for hearing has not been made within
the time period allowed in that notice.

Based upon the foregoing and good cause appearing therefore, the following exemptions are DISALLOWED to the
extent objected to by the trustee:

20% interest in Thoroughbred horse




                                                                Elizabeth A Smith
Dated: 11/18/16                                                 Clerk, U.S. Bankruptcy Court
